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                         UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION


 UNITED STATES OF AMERICA,

              Plaintiff,

 v.                                                   Case No. 11-20551-22-31

 DAMON MASON et al.,

              Defendants.
                                                /

           ORDER SUSPENDING BRIEFING ON DEFENDANTS’ MOTIONS

       On May 20, 2014, the court conducted a status conference with Government

 counsel and Defense counsel for the Defendants in Group 2B (Defendants numbered

 22 through 31). During the conference, counsel informed the court of ongoing

 negotiations and agreed to set a motion cutoff date of August 15, 2014. In light of these

 negotiations, counsel agreed that it would be prudent to suspend further briefing on any

 motions filed by Defendants in Group 2B pending the motion cutoff date. The

 suspension of briefing applies to all motions filed before August 15, 2014—those that

 have already been filed and those that have yet to be filed. Accordingly,

       IT IS ORDERED that briefing on all pending motions(Dkt. ## 646, 648, 649, 650,

 651, 653, 655, 656, 657, 658, 667,) is SUSPENDED until August 15, 2014. Unless

 otherwise ordered, responses for all motions, and all future motions filed before August

 15, 2014 shall be due by September 5, 2014.

                                           s/Robert H. Cleland
                                          ROBERT H. CLELAND
                                          UNITED STATES DISTRICT JUDGE

 Dated: May 23, 2014
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 I hereby certify that a copy of the foregoing document was mailed to counsel of record
 on this date, May 23, 2014, by electronic and/or ordinary mail.

                                                             s/Lisa Wagner
                                                            Case Manager and Deputy Clerk
                                                            (313) 234-5522




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